Filed 06/10/13                                                             Case 10-25542                                                  Doc 49
     FORM L161 Order approving Final Report and Account and Discharging Trustee (v.09.12)                                10−25542 − E − 13C

                                          UNITED STATES BANKRUPTCY COURT                                                FILED
                                               Eastern District of California
                                                    Robert T Matsui United States Courthouse                            6/10/13
                                                             501 I Street, Suite 3−200
                                                              Sacramento, CA 95814                              CLERK, U.S. BANKRUPTCY COURT
                                                                        (916) 930−4400                         EASTERN DISTRICT OF CALIFORNIA
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                 ORDER APPROVING FINAL REPORT AND ACCOUNT AND DISCHARGING TRUSTEE

     Case Number:             10−25542 − E − 13C
     Debtor Name(s) and Address(es):


         Earl Veal                                                                          Susan Veal
         10484 Hubbard Rd                                                                   10484 Hubbard Rd
         Auburn, CA 95602                                                                   Auburn, CA 95602



         The Chapter 13 Trustee has filed a final report and account with the Court and the Office of the
         United States Trustee, and certified that the estate of the above−named debtor(s) has been fully
         administered. No objection has been timely filed with the Clerk by the United States Trustee or a
         party−in−interest, and no hearing concerning the matter has been set. Therefore, pursuant to
         Federal Rule of Bankruptcy Procedure 5009, there is a presumption that the estate of the
         above−named debtor(s) has been fully administered.

         IT IS ORDERED that the final report and account is approved.

         IT IS FURTHER ORDERED that the Chapter 13 Trustee is hereby discharged and relieved of his
         trust, that his bond is hereby exonerated, and that the surety or sureties thereon are hereby
         released from further liability thereunder except any liability which may have accrued during the time
         such bond was in effect.



     Dated:                                                                           FOR THE COURT
     6/10/13
                                                                                      Wayne Blackwelder , CLERK
